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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

AUSTIN BROWN,                           CASE NO.: 1:17-cv-305-MW-GRJ
    Plaintiff,
v.

LAWN ENFORCEMENT AGENCY,
INC. and MICHAEL TROIANO,
      Defendants.
 _______________________________ /

       PLAINTIFF’S REPLY BRIEF TO DEFENDANTS’ BRIEF ON
             ENTITLEMENT TO FEES/COSTS (DOC. 41)

      Plaintiff, Austin Brown, files this this Reply to [Doc. 41] and states:

      A.     Defendants Did Not Attempt to Settle in Good Faith

      Defendants acknowledge on page 3 of their Response that Plaintiff’s counsel

sent a letter dated November 15, 2017 discussing the potential claim, suggesting

mediation and inviting discussion about it. See Doc. 25-1. What is omitted,

however, is that Defendant Troiano emailed the undersigned in response to that

letter. See attached Exhibit A. The undersigned then informed Mr. Troiano via

email of the approximate value of the claim, what the matter was about, and that he

can just make payment directly to Plaintiff without the undersigned receiving any

fees or costs. Id. Although promising to “research and email back”, Defendants

did nothing. See Id. They never paid anything, got back with any research, contact

Plaintiff, or take any apparent action until this lawsuit was filed and served.



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      Shortly after this lawsuit was served (and before he retained counsel), Mr.

Troiano again contacted the undersigned’s office on about December 27th to

discuss settlement. In fact, a settlement of approximately $2,000 - $2,500 was

nearly agreed to when Mr. Troiano offered $2,000 to settle on January 9, 2017

(again, prior to him hiring counsel). After offering that amount and the Plaintiff

countering at $2,500, Mr. Troiano seemed agreeable, said he had to “make a call”

about final settlement, and then never contacted the undersigned again.

      The next day, January 10th, Ms. Koves entered a Notice of Appearance (Doc.

3) and revoked the $2,000 already offered to settle this case; instead, inexplicably,

offering only $1,500 total (an amount clearly insufficient to cover attorneys’ fees

and costs at that time because of the time spent investigating the claim, preparing a

detailed complaint, researching the issues at hand, FLSA coverage of the

Defendants, and paying $440 in filing and service costs), See attached Exhibit B.

To evaluate that offer, the undersigned sought documents Defendants would have

readily available, such as the handbook; however, although a page of the handbook

would be used by Defendants to support their summary judgment motion, they

refused to share it saying it was “irrelevant”. See Exhibit C and Doc. 26, page 21.1

      Ms. Koves eventually supplied some documents (sans handbook) to the


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  Defendants never produced that page of the handbook until they attached it as
part of their summary judgment motion relating to good faith. Plaintiff pointed this
out in his response at Doc. 28, page 16.

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undersigned on February 19, 2018 at 4:46 p.m. See Exhibit D. The next day,

February 20th at 9:51am Ms. Koves requested the undersigned review the

documents she produced the day prior so the undersigned could form a response to

her $1,500 offer. See Exhibit E. At 10:09am on the same day, February 20th (i.e.

less than 20 minutes later), Ms. Koves revoked the $1,500 offer, demanded

dismissal of the case, and demanded dates for Plaintiff’s deposition. See Exhibit

F.2 On February 26th Plaintiff filed his amended initial disclosures listing the exact

amount of damages expected due under the FLSA: $84.14. See Doc. 15.

      By revoking all settlement offers almost immediately after their limited

document production and, at the same time, demanding both dismissal of the entire

action along with dates for Plaintiff’s deposition, Defendants acted in bad faith

regarding settlement of this matter. Instead of settling for the amount disclosed in

the initial disclosures (or for between $2,000 and $2,500, as what was about to

happen), Defendants decided to try to get a judgment based on overturned caselaw

– disputing enterprise coverage for a business operating nearly 100 vehicles. See

Doc. 7. While Defendants have every right to defend a small claim and spend

significant attorneys’ fees in that effort, Plaintiff has a due process right to combat

that effort and if he prevails must be awarded his fees/costs so he and plaintiffs like


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 Ms. Koves made another request for deposition dates of Plaintiff on February
22nd and the undersigned responded via email by offering the week of April 23rd.
Despite such demands, Defendants never actually set his deposition.

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him can secure equal representation. See Cheeks v. Freeport Pancake House, Inc.,

796 F.3d 199 (2d Cir. 2015) (FLSA's primary remedial purpose is “remedy the

disparate bargaining power between employers and employees.”).

      Moreover, Ms. Koves never requested the amount of Plaintiff’s fees and

costs at any point (as authorized by local rule 54.1(D)), never requested early

mediation or FLSA settlement conference (as invited per the Court’s Scheduling

and Mediation Order (Doc. 20)), never made an offer to settle this case based on a

reasonable amount of attorneys’ fees and costs to date, and never chose to pay the

$84.14 disclosed in initial disclosures and leave the fee issue up to the Court.

      B.     Defendants’ “Attempt” to Pay Without Fees and Costs was
             Dionne Ploy

      Defendants’ claim that they paid Plaintiff the amounts he was due is

misleading because that was an attempt to avoid paying any attorneys’ fees. See

Dionne v. Floormasters Enterprises, Inc., 647 F.3d 1109 (11th Cir. 2011) (Dionne

I), vacated and superseded, Dionne II, 667 F.3d 1199. The defendants

in Dionne tendered full payment for an FLSA claim and moved to dismiss the case

on mootness grounds. Dionne I, 647 F.3d at 1111. The plaintiff conceded that the

defendants' full tender mooted his claims, but he requested that the court retain

jurisdiction to determine attorney's fees and costs. Id. The district court granted the

defendant's motion to dismiss, and the 11th Circuit held that the plaintiff was not a

"prevailing party" entitled to fees under 29 U.S.C. § 216(b) because the court did

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not award a judgment in the plaintiff's favor. Id. at 1115.

      The cover letter accompanying Defendants’ payment, dated March 1st, 2018

(attached as Exhibit G), states that Defendants were objecting to Federal Court

jurisdiction and Ms. Koves “believe[s] [her] client is open to negotiating some

amount of attorney’s fees solely to bring this matter to a conclusion.” Id. By

objecting to this Court’s jurisdiction and declining to guarantee any payment of

attorneys’ fees, Defendants were trying to moot Plaintiff’s claim for fees and costs

per Dionne by eventually moving to dismiss the case as moot. In such

circumstances, as explained in Zelaya v. Cargo Logistics Grp. USA LLC, Case No.

16-cv-23669-GAYLES, at *5 (S.D. Fla. Jan. 23, 2017), Plaintiff could not accept

the amounts due and the proper result (as ordered in Zelaya) is to return the tender.

The undersigned made perfectly clear to Defendants’ counsel he was aware of

Dionne and even emailed Ms. Koves the Zelaya case and explain to her twice that

she needed to make a proper Rule 68 offer that included attorneys’ fees so the case

could properly resolve. See attached Exhibit H (composed of 2 emails, February

26th and March 1st).

      C.      Defendants Incorrectly State the Result in Ultimate Makeover
              Salon & Spa, Inc. v. DiFrancesco

      Ultimate Makeover plainly states that the Section 448.110 counts at issue

therein were dropped early in the case. The court stated that “ At the hearing on

plaintiffs motion to amend her complaint, plaintiff conceded that the two original

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counts under section 448.110 were time-barred and agreed to drop them.” Ultimate

Makeover Salon v. Difrancesco, 41 So. 3d 335, 337 (Fla. 4th DCA 2010). After

those counts were dropped, the plaintiff amended her complaint to add four

additional counts for “wages.” Id. The defendant answered that amended

complaint. Id. Thereafter, the court granted summary judgment on the amended

complaint and the then existing 4 claims of unpaid wages stating: “While each of

the claims sounds in contract — express or implied — the claims relate to the

payment of wages.” Id. Thus, no decision was made by the Ultimate Makeover

court on the 448.110 claims because they were dropped; the only remaining counts

were akin to contract actions (which is not at all a minimum wage case because the

minimum wages are guaranteed by law, unlike an implied/express contract

between an employer and employee of an hourly wage or salary). See also Kubiak

v. S.W. Cowboy, Inc., 3:12-cv-1306-J-34-JRK (M.D. Fla. March 22, 2017).

      D.     Defendants Moved for Sanctions under Rule 11 Without Prior
             Service of a Rule 11 Motion

      Rule 11 requires a 21-day safe harbor notice; correspondence does not

suffice. See In re Kirk-Murphy Holding, Inc., 313 B.R. 918 (Bankr. N.D. Fla.

2004) (interpreting bankruptcy rule 9011, identical in nature to Rule 11, stating

“An overwhelming majority of courts have uniformly concluded that a warning

letter, such as in the case before me is not the functional equivalent of serving a

motion for sanctions and does not constitute compliance with the safe harbor


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provisions.”) Moreover, when the simple safe harbor provisions are not met,

sanctions against the moving party are appropriate. See id. (“Since the alleged

debtor blatantly disregarded the clear and simple procedural guidelines set forth in

Rule 9011(c), I award Taco Bell, as the prevailing party and pursuant to Rule 9011,

reasonable attorney fees. . . .”). Similarly, Defendants never even attempted to

comply with the safe harbor provisions of Rule 11 – even by letter citing Rule 11.

      Regarding the merits of the FMWA claim, Defendants ignore that numerous

courts agreed with Plaintiff’s position that the 15-day notice placed by the

legislature in 448.110 is unconstitutional because the practical affect is to deny

employees the timely payment of guaranteed minimum wages otherwise

guaranteed by the Florida Constitution. See e.g. Throw v. Republic Enterprise

Systems, Inc., No. 8:06-cv-724T-30TBM, 2006 WL (M.D. Fla. Jun. 30, 2006).

Applying those cases, Plaintiff’s FMWA damages also would have been liquidated

and Defendants’ counter-arguments would have been to no avail (just like with the

FLSA count).3 Some courts find the issue so divided they decline supplemental

jurisdiction over the matter – including one very recently. See Espinoza v. Galardi

S. Enters., Inc., Case No. 14-21244-CIV-Goodman (S.D. Fla. Apr. 10, 2018).


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      Defendants’ claims of frivolity are ironic given that it was Defendants whom
moved for summary judgment based on bad law (Doc. 7) and continued to claim a
lack of enterprise coverage in their amended summary judgment motion (Doc. 26)
despite the holding in Polycarpe v. E & S Landscaping Serv., Inc., 821 F.Supp.2d
1302 (S.D. Fla. 2011).

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      E.     Defendants Proposal for Settlement Offer was Not in Good Faith

      A proposal for settlement under Fla. Stat. Sec. 768.79 must “bear a

reasonable relationship to damages and be founded on a realistic assessment of the

potential liability”; otherwise it is invalid as not made in good faith; that includes a

reasonable amount of attorneys’ fees to date. See James v. Wash Depot Holdings,

Inc., Case No. 05-60822-CIV-Dimitrouleas, 6-7 (S.D. Fla. 2007) (“Because in this

case, the Plaintiff and his attorney had already expended numerous hours litigating

this case and had a reasonable likelihood of success on the FLSA claims, the Court

finds that the Defendants' offer of a mere $10,000 in both damages and fees, where

their potential liability at that point including attorney’s fees was well into the

hundreds of thousands, was unreasonable and not in good faith.”)

      Defendants’ proposals were emailed on May 30, 2018. Prior to that time,

Defendants pled 20 affirmative defenses and demanded a jury trial (Doc. 11),

Defendants moved for Summary Judgment on January 29, 2018 (Doc. 7) discovery

had occurred (See e.g. Doc. 22), Plaintiff filed his Summary Judgment Motion on

April 10, 2018 (Doc. 25), and Defendants filed an Amended Summary Judgment

motion on April 23rd (Doc. 26). See time records attached as Exhibit B. Despite

all that work – much of which was necessitated by Defendants’ own filings -

Defendant LEA’s offer was for a total of $2,400 (including fees and costs on all

pled claims, including the FLSA claim) and Defendant Troiano’s offer was for



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$100 total. Because counsel had already spent numerous hours litigating, the offers

were not in good faith. An “offer of judgment or offer of settlement or the same

thing by another name ought to be more than a carefully crafted, cleverly

calculated, and disingenuous attempt to shift the economic burden of litigation."

Stouffer Hotel v. Teachers Ins., 944 F. Supp. 874, 875 (M.D. Fla. 1995).

      F.     Defendants’ Offer was Not for 125% More Than the Judgment
             Expected

      Defendants’ proposals, by their own terms, included attorney’s fees and

costs and applied to all claims pled – including the FLSA. As indicated in the time

records attached as Exhibit B, the amount of fees and costs expended by Plaintiff

as of May 30, 2018 were about 90 hours and final judgment is expected to reflect

much more - nowhere near the approximate $2,000 offered for fees (because the

offers included costs, $440 for the filing fee and the service fee would also be

deducted). Thus, should Plaintiff receive a judgement for $84.14, his expected

judgment (including attorneys’ fees and costs) will not be less than $2,000 and the

proposal has no effect under F.S. 768.79(6)(a) (requiring judgment by the plaintiff

of at least 25% less than the amount of the offer).

      G.     The Proposals Did Not Offer Judgement

      The proposals, which were solely made pursuant to F.S. 768.79 and not Rule

68, required dismissal of the entire action instead of a judgment. Parties generally

cannot enter into private settlements of FLSA claims without either the approval of

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the district court or the Department of Labor. See Cheeks v. Freeport Pancake

House, Inc., 796 F.3d 199 (2d Cir. 2015), Lynn's Food Stores, Inc. v. U.S., Etc, 679

F.2d 1350, 1355 (11th Cir. 1982). Thus, the condition of dismissal of the action

along with compromise of the fees/costs incurred during the case violates Lynn’s

Food Stores and thus makes the offer invalid (it also conflicts with the supremacy

of federal law). See Ward v. Parks Electric Co., Inc., Case No. 6:08-cv-1111-Orl-

19KRS. (M.D. Fla. Jun. 15, 2009) (rejecting settlement under Lynn’s Food over

the issue of attorney’s fees); See also, Thompson v. Hodson, 825 So. 2d 941, 953

(Fla. 1st DCA 2002) (noting the “highly technical nature” of 768.79).

      H.     The Proposals Were Not Properly Served

      The proposals were only emailed, not mailed; thus, they were not properly

served and invalid. See attached Exhibit I. F.S. 768.79(3) states that “The offer

shall be served upon the party to whom it is made….” (e.s.). “This language must

be strictly construed because the offer of judgment statute and rule are in

derogation of the common law rule that each party pay its own fees.” Willis Shaw

Express v. Hilyer Sod, 849 So. 2d 276, 278 (Fla. 2003). Federal Rule 5(a)(1)(E)

mandates that each of the following must be served: “a written notice, appearance,

demand, or offer of judgment, or any similar paper.” (e.s.). Rule 5(b)(E) only

permits service by email in if there is prior consent in writing; here there was not.

Dated: August 24, 2018                               By /s/ Michael Massey
                                                     FBN 153680

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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been

delivered to counsel for Defendants electronically by filing the same with the

Court’s electronic filing system on this August 24, 2018.


By /s/ Michael Massey
Michael Massey
Massey & Duffy
855 E. Univ. Ave.
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352-505-8900
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